Case 2:25-cv-00477-WSS  Document25_ Filed 04/16/25 Pagelof1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ARYAMAN SHANDILYA, ef al,
Plaintiffs,
v.
KRISTI NOEM, ef al,

Defendants.

Civil Action No. 2:25-cv-477

Hon. William S. Stickman IV

ORDER OF COURT

AND NOW, this i& day of April 2025, IT IS HEREBY ORDERED that the injunction

hearing previously scheduled for April 25, 2025 at 8:00 a.m. is RESCHEDULED for April 30,

2025 at 7:30 a.m. The Court is currently scheduled to be in a jury trial on April 30, with another

trial beginning the following week on May 5. This hearing is set provisionally in that counsel may

need to be flexible with respect to a possibility of rescheduling a date and/or time.

IT IS FURTHER ORDERED that Plaintiffs’ Motion for Expedited Discovery is denied,

with the following exception: Plaintiffs may request, and if so requested, Defendants shall

produce, any documentation in their possession relating to the change of the named Plaintiffs’

SEVIS status that forms the basis of their action and/or any documentation relating to the status of

their visas.

April 16, 2025

BY THE COURT:

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WILLIAM S. STICKMAN IV
UNITED STATES DISTRICT JUDGE

